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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ALVARO UVIEL CASTRO,

       Petitioner,

v.
                                                      Civil Case No.: 8:13-cv-54-T-24 TBM
                                                      Criminal Case No.: 8:07-cr-455-T-24 TBM

UNITED STATES OF AMERICA,

       Respondent.
                                    /

                                             ORDER

       This cause comes before the Court on Petitioner’s motion to vacate, set aside, or correct

an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. (CV Doc. No. 1; CR Doc. No. 101).

Because review of the motion and the file in the case conclusively show that Petitioner is not

entitled to relief, the Court will not cause notice thereof to be served upon the United States

Attorney but shall proceed to address the matter. 28 U.S.C. § 2255(b).

I. Background

       On January 17, 2008, Petitioner pled guilty to Count One of the Indictment, which

charged him with conspiracy to possess with intent to distribute five kilograms or more of

cocaine while aboard a vessel subject to the jurisdiction of the United States, in violation of 46

U.S.C. §§ 70503(a), 70506(a), and 70506(b) and 21 U.S.C. § 960(b)(1)(B)(ii). (CR Doc. No. 39,

51). Petitioner was sentenced on April 25, 2008 to 121 months of imprisonment, and the

judgment was entered against Petitioner the same day. (CR Doc. No. 74, 79). Petitioner did not

appeal his conviction and sentence.
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II. Section 2255 Motion

        On January 3, 2013, Petitioner placed the instant § 2255 motion in the prison mailing

system for filing with this Court. Petitioner argues in the motion that the indictment should be

dismissed because the Court lacked jurisdiction to convict and sentence him, and that he is

actually innocent of the crimes charged in light of the Eleventh Circuit’s opinion in United States

v. Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012). However, because his petition is

untimely, it must be denied.

        The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) “established a

mandatory, one-year ‘period of limitation’ for § 2255 motions, which runs from the latest of the

following events:

        (1)    the date on which the judgment of conviction becomes final;
        (2)    the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the United
               States is removed, if the movant was prevented from making a motion by
               such governmental action;
        (3)    the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the Supreme
               Court and made retroactively applicable on collateral review; or
        (4)    the date on which the facts supporting the claim or claims presented could
               have been discovered through the exercise of due diligence.

Jones v. United States, 304 F.3d 1035, 1037-38 (11th Cir. 2002) (citing 28 U.S.C. § 2255(f)(1)-

(4)).

        Petitioner was sentenced and judgment was entered on April 25, 2008. Petitioner did not

appeal his conviction, and his conviction became final when the time for filing an appeal

expired. Akins v. United States, 204 F.3d 1086, 1089 n.1 (11th Cir. 2000). At the time that his

judgment was entered, the time for filing a direct appeal expired 10 business days after the

written judgment of conviction was entered on the criminal docket. Fed. R. App. P. 4(b).

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Therefore, Petitioner’s conviction became final on May 8, 2008.

       Petitioner had one year from May 8, 2008 within which to file his § 2255 motion.

Petitioner, however, did not submit the instant motion for filing until January 3, 2013. As such,

the motion is time-barred unless Petitioner can show that he was prevented from timely filing the

petition because of extraordinary circumstances that were both beyond his control and

unavoidable even with diligence. Sandvik v. United States, 177 F.3d 1269, 1271 (11th Cir.

1999). “The burden of establishing entitlement to this extraordinary remedy plainly rests with

the petitioner.” Drew v. Dep’t of Corr., 297 F.3d 1278, 1286 (11th Cir. 2002).

       Here, Petitioner argues that he is actually innocent of the crimes charged, citing United

States v. Bellaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012)(unpublished). In that case, a panel

of the Eleventh Circuit ruled, in an unpublished opinion, that the Maritime Drug Law

Enforcement Act, 46 U.S.C. §§ 70503(a) and 70506, was unconstitutional as applied to the drug-

trafficking activities of the defendants in that case, which occurred in the territorial waters of

Panama. See id. at 1258. The panel reasoned, “[b]ecause drug trafficking is not a violation of

customary international law, . . . Congress exceeded its power, under the Offences Clause [of the

U.S. Constitution] when it proscribed the defendants’ [drug trafficking] conduct in the territorial

waters of Panama.” Id. However, Bellaizac-Hurtado is factually distinguishable from the instant

case because it concerns Congress’s ability to proscribe drug-trafficking activity in territorial

waters, particularly the territorial waters of Panama. Petitioner was arrested in international

waters in the Eastern Pacific Ocean. (CR Doc. No. 39, p. 12-13). Thus, Bellaizac-Hurtado is

factually distinguishable and does not establish that Petitioner was actually innocent of the

crimes charged.


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        Accordingly, because Petitioner has not presented any argument to establish that he is

actually innocent of the crimes charged, or that extraordinary circumstances prevented him from

timely filing his petition, he has not met his burden of showing that his § 2255 motion was

timely filed. As a result, Petitioner’s § 2255 motion is untimely and must be dismissed.

III. Conclusion

        Accordingly, Petitioner’s motion to vacate sentence is DISMISSED as untimely. The

Clerk is directed to close the civil case.


                      CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHERED ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal a

district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must first

issue a certificate of appealability (“COA”). Id. “A [COA] may issue . . . only if the applicant

has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2). To

make such a showing, Petitioner “must demonstrate that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong,” Tennard v. Dretke, 542

U.S. 274, 282 (2004) (quoting Slack v. McDaniel 529 U.S. 473, 484 (2000)), or that “the issues

presented were ‘adequate to deserve encouragement to proceed further,’” Miller-El v. Cockrell,

537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

Petitioner has not made the requisite showing in these circumstances. Finally, because Petitioner

is not entitled to a certificate of appealability, he is not entitled to appeal in forma pauperis.

        DONE AND ORDERED at Tampa, Florida, this 15th day of January, 2013.

Copies to:
Counsel of Record
Pro Se Petitioner


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